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 7
 8                                   UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF ARIZONA
10    HKB, Inc., an Arizona Corporation, dba          No. 2:16-cv-03799-DJH (Lead Case)
      Southwest Industrial Rigging,                   No. 2:17-cv-00198
11
12                                   Plaintiff,       NOTICE OF SERVICE OF
      v.                                              DISCOVERY MATERIALS
13
      Board of Trustees for the Southwest
14    Carpenter’s Southwest Trust; et al.,
                                                      (Assigned to the Honorable
15                                   Defendants.      Diane J. Humetawa)
16    Board of Trustees for the Southwest
17    Carpenter’s Southwest Trust; et al.,

18                                   Plaintiffs,

19    v.

20    HKB, Inc., an Arizona Corporation, dba
      Southwest Industrial Rigging, et al.,
21                                   Defendants.
22
23            HKB, Inc. dba Southwest Industrial Rigging hereby gives notice of service upon
24 Board of Trustees for the Southwest Carpenter’s Southwest Trust of its Responses to their
25 Requests for Admission, Requests for Production of Documents and First Set of Non-
26 Uniform Interrogatories by Email and U.S. Mail on March 11, 2019.
27
28

     CORE/3008422.0002/151412857.1
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 1            RESPECTFULLY SUBMITTED 12th day of March, 2019.
 2                                                    STINSON LEONARD STREET LLP
 3
                                            By:       /s/ James E. Holland, Jr.
 4
                                                      James E. Holland, Jr.
 5                                                    Javier Torres
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 7
 8
                                     CERTIFICATE OF SERVICE
 9
              I hereby certify that on March 12, 2019, I caused the foregoing document to be
10
     filed electronically with the Clerk of Court through ECF; and that ECF will send an e-
11
     notice of the electronic filing to:
12
              Daniel Shanley
13
              Steven Zeller (admitted pro hac vice)
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19            Administrative Corporation and Board of Trustees
              for the Carpenters Southwest Trusts
20
21
22
                                               /s/ Linda. Holder
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     CORE/3008422.0002/151412857.1
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